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 6   Attorney for Plaintiff Timothy Stephenson
 7
                                  UNITED STATES DISTRICT COURT
 8
                                         DISTRICT OF ARIZONA
 9
10                                                      Case No. 2:15-cv-00707-DJH
     Timothy Stephenson,
11                                                      NOTICE OF SETTLEMENT
                    Plaintiff,
12
            v.
13
     United of Omaha Life Insurance Company;
14   Canyon Custom, Door West and RGC, Inc.;
     Canyon Custom, Door West and RGC, Inc.
15   Disability Plan,
16                  Defendants.
17
18          Plaintiff hereby gives notice that this case has settled. The parties are working on
19   finalizing the settlement documentation at this time. The parties will, as soon as possible,
20   file with the Court a Stipulation and Order to dismiss this case with prejudice.
21
                                  DATED this 17th day of September, 2015.
22
                                               SCOTT E. DAVIS, P.C.
23
                                               By:     /s/ Scott E. Davis
24                                                     Scott E. Davis
                                                       Attorney for Plaintiff
25
26
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              Case 2:15-cv-00707-DJH Document 7 Filed 09/17/15 Page 2 of 2




 1                                 CERTIFICATE OF SERVICE
 2   I hereby certify that on September 17, 2015 I electronically transmitted the attached document
     to the Clerk’s Office using the CM/ECF System for filing and transmittal of a Notice of
 3   Electronic Filing to the following CM/ECF registrants:
 4   Susan Lewis, Esq.
     Mutual of Omaha
 5   Mutual of Omaha Plaza
     Omaha, NE 68175
 6
     By: Lisa L. Martinez
 7   An employee of Scott E. Davis, P.C.
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